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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                               CASE NO. 23-61229-CIV-CANNON

   THE SMILEY COMPANY SPRL,

          Plaintiff,
   v.

  THE INDIVIDUALS, PARTNERSHIPS, AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE A,

          Defendants.
                                                             /

                    ORDER EXTENDING TEMPORARY
    RESTRAINING ORDER, SCHEDULING HEARING, AND UNSEALING ENTRIES

         THIS CAUSE comes before the Court upon Plaintiff’s Motion for Extension of Time to

  Extend Ex Parte Temporary Restraining Order and Schedule Hearing on Motion for Preliminary

  Injunction [ECF No. 10]. On July 17, 2023, Plaintiff filed two ex parte motions: (1) the Motion

  for Entry of Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer

  of Assets (the “Motion for Injunctive Relief”) [ECF No. 6], and (2) the Motion to Authorize

  Alternative Service of Process (the “Motion for Alternative Service”) [ECF No. 7] (together, the

  “Ex Parte Motions”). The Court entered an Order granting the Motion for Alternative Service and

  granting in part and denying in part the Motion for Injunctive Relief [ECF No. 8]. The Court’s

  Order on August 3, 2023, temporarily enjoined Defendants from further infringing upon Plaintiff’s

  trademark and from transferring use of control of Defendants’ Amazon Storefronts for a period of

  fourteen days [ECF No. 8]. The Court instructed Plaintiff that any motion to extend the Temporary

  Restraining Order must be filed by August 14, 2023 [ECF No. 14 p. 15]. Plaintiff filed such a
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  motion on August 14, 2023, requesting a fourteen (14) day extension of the Temporary Restraining

  Order so that Plaintiff can effectuate service on Defendants [ECF No. 10].

         Upon a review of Plaintiff’s Motion [ECF No. 10] and the full record, the Court hereby

  extends the Temporary Restraining Order for an additional fourteen (14) days for good cause

  shown pursuant to Rule 65(b)(3) of the Federal Rules of Civil Procedure. See Fed. R. Civ. Pro.

  65(b)(3) (“[A temporary restraining] order expires at the time after entry—not to exceed 14 days—

  that the court sets, unless before that time the court, for good cause, extends it for a like period or

  the adverse party consents to a longer extension.”). The Court does so to permit time for the Court

  to hold a preliminary injunction hearing as set forth below and to permit Plaintiff adequate time to

  serve Defendants and provide notice of the Preliminary Injunction Hearing to Defendants.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Sealed Temporary Restraining Order entered on August 3, 2023 [ECF No. 8] is

             extended by an additional fourteen (14) days to August 31, 2023, at 11:59 P.M.

         2. A preliminary injunction hearing is hereby set for August 23, 2023, at 4:15 P.M.,

             before Judge Aileen M. Cannon via the Zoom platform.                 The Zoom link and

             information will be emailed to the parties of record.

         3. Plaintiff shall take all reasonable steps to notify Defendants of the Preliminary

             Injunction Hearing on August 23, 2023, at 4:00 P.M., and to effectuate service on

             Defendants in accordance with the Court’s Order authorizing alternative service

             [ECF No. 14].

         4. On or before August 22, 2023, Plaintiff shall file a Status Report apprising the Court

             whether alternative service of process has been effectuated upon each of the Defendants




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             and what steps Plaintiff has taken to provide notice to Defendants of the Preliminary

             Injunction Hearing.

          5. The Clerk is directed to UNSEAL all sealed entries currently on the docket

             [ECF Nos. 6, 7, 8].

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 16th day of August

  2023.



                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE
  cc:     counsel of record




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